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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:08-cr-00111
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
HERSCHEL BRENT MINIFEE,             )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 1, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Herschel Brent Minifee entered a plea of guilty to Counts One and Three of the

Indictment in exchange for the undertakings made by the government in the written plea agreement.

In Count One, defendant is charged with conspiracy to distribute marijuana in violation of 21

U.S.C. §§ 841 and 846. In Count Three, defendant is charged with possession of a firearm by a

convicted felon in violation of 18 U.S.C. § 922(g). On the basis of the record made at the hearing,

I find that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-

ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Counts One and Three of the

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge. The clerk is directed to procure a transcript of the plea hearing for

review by the District Judge.



Date: October 2, 2008                                  /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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